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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                    *
vs.                                              *   Case No.: 22-15-APM
THOMAS E. CALDWELL                               *
          *      *      *      *      *      *       *     *       *       *       *
                UNOPPOSED REQUEST FOR RETURN OF PASSPORT

          COMES NOW, Thomas E. Caldwell, by and through counsel, and respectfully

requests that the Court order that his passport be returned, and in support of said motion

states:

      1. Assistant U.S. Attorney Kathryn Rakoczy has no objection to this request.

      2. The defendant’s passport was surrendered to his Pretrial Officer subsequent to his

          release on conditions on March 10, 2021. The defendant advises that his passport

          has not expired.

      3. The defendant was sentenced to a time-served disposition on January 10, 2021

          with no period of supervised release and, hence, no travel restrictions.

          WHEREFORE, the defendant, Thomas E. Caldwell, requests that the Court order

      the return of his passport.

                                                     Respectfully submitted,

                                                           /s/ ______________
                                                     David W. Fischer, Esq.
                                                     Federal Bar No. 023787
                                                     Empire Towers, Suite 1007
                                                     7310 Ritchie Highway
                                                     Glen Burnie, MD 21061
                                                     (410) 787-0826
                                                     Attorney for the Defendant
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                            CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on this 22nd day of January, 2025, a copy of the
foregoing Unopposed Request for Return of Passport was electronically filed with the
Clerk of the United States District Court using CM/ECF, with a notice of said filing to
the following:

Counsel for the Government:              Kathryn Rakoczy, AUSA
                                         Office of the United States Attorney
                                         555 4th Street, NW
                                         Washington, DC 20001

                                                     /s/ ____________
                                                David W. Fischer, Esq.
